               Case 3:23-cv-00665-BAJ-SDJ               Document 2        08/08/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA



    United States of America
   Plaintiff
                                                                   23-CV-665
   v.
                                                                   Civil Action No.
    In Re: In The Matter of $189,490,00 in U.S. Currency
   Defendant

                                CERTIFICATE OF INTERESTED PERSONS


   Pursuant to Local Civil Rule 7.1,
    United States of America



    provides the following information:
           A complete list of all persons, associations of persons, firms, partnerships, corporations,
    guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
    financially interested in the outcome of the case:
    *3OHDVHVHSDUDWHQDPHVZLWKDFRPPDDQGGRQRWDGGDGGUHVVLQIRUPDWLRQ2QO\WH[WYLVLEOH
    ZLWKLQER[ZLOOSULQW
    The United States of America,

    United States Attorney’s Office,

    Khari K. Greene,

    Yanyang Ge,

    Philip House,

    Balfour Emonet Law Firm, LLC




                                                                   J. Brady Casey, LBN: 24338
                                                                   $WWRUQH\1DPHDQG%DU1XPEHU

NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil =>
Notices => Certificate of Interested Persons.
